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                        Netflix Murdaugh Documentary
                          Interview of Michael Dewitt


S1: E3 “No Secrets Are Safe”
10:58 – 12:03
Within one month of his body being found we were hearing all these rumors about a
possible Murdaugh connection. And I’ve learned as a reporter, that if you hear the
same rumors from different groups of people wherever you go, it’s either a very good
rumor or there’s some truth to it. So we did our story the Thanksgiving 2015 paper,
and Sandy Smith basically appealed to the community. My son was killed if you know
something, please come tell us, we just want answers we want closure. So we could
not put the Murdaugh name in a story unless we wanted to face lawsuits. We said a
prominent well known family was rumored to be involved. Everybody knew who we
were talking about. We published the story and we waited. People would come up to
me in the Piggly Wiggly, pat me on the back, we’re so thankful you ran that story, so
proud of you have the courage to do it. I mean, we did everything but put the
Murdaugh name in the story, but the story did no good. Nobody ever came forward.
17:05 – 17:28
When she died I began hearing rumors. I was at the hardware store one day and
somebody saw Maggie Murdaugh walk by and they said “there goes ole Maggie
Murder.” And I said why are you calling that lady that? And they said, well you know
she pushed the housekeeper down the stairs. One version of the rumor was that Paul
pushed the housekeeper down the stairs. One version was that Maggie did it.
22:54 – 23:19
The law firm held a come to Jesus meeting and said we know you’ve been stealing
money. We’re going to investigate this but even worse, you’re no longer one of us.
We’re gonna cut ties. The law firm that your great grandfather started is done with
you. He learned that his world was about to unravel. We gotta put ourselves in the
mind of his character. Now Alex Murdaugh is a desperate man.
31:50 – 32:50
I began to have a bad taste in my mouth toward members of the Murdaugh family,
just like a lot of members in the community did. And our coroner, Angela Topper, she
goes back looking through Hampton County Coroner records and she stood up and
pointed out there was something fishy about 2018, Gloria Satterfield, another case
that went under the radar. She’s seeing that this death was ruled natural, even
though it was a trip and fall. She’s seeing there was no autopsy ever done. So she
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wrote a letter to SLED and asked SLED to help her investigate this. At the same time
SLED has got reason to investigate Alex’s financial crimes. Eventually the Satterfield
family were reading articles all over the state of South Carolina about how there was
a death settlement. Her sons didn’t know anything about a settlement. They’re
looking at each other saying I didn’t get any money; did you get any money?
36:17 – 36:21
Alex Murdaugh is in a jail cell. No secrets are safe now.
41:45 – 42:05
One of my editors suggested why don’t you go ahead and write a breaking news thing
in case Alex Murdaugh is charged with homicide. And I can’t bring myself to do it.
That’s an awful thing to even wrap your head around that a man can kill his wife and
child and if its true, this is the fall of a dynasty, it is a fall from grace.
04:15 – 10:57
Clip of rumors that Buster had something to do with Stephen Smith’s death.
Article – 10:51 – 10:55
